654 F.2d 452
    109 L.R.R.M. (BNA) 3123, 92 Lab.Cas.  P 13,063
    Charles ADAMS; Larry Washington; George Andrews; BillyLovett; International Brotherhood of Teamsters,Chauffeurs, Warehousemen and Helpers ofAmerica, Plaintiffs-Appellees,v.FEDERAL EXPRESS CORPORATION, Defendant-Appellant.
    No. 80-1247.
    United States Court of Appeals,Sixth Circuit.
    July 15, 1981.
    
      1
      Scott F. May, Memphis, Tenn., for defendant-appellant.
    
    
      2
      Howard R. Paul, Memphis, Tenn., for plaintiffs-appellees.
    
    
      3
      Before EDWARDS, Chief Judge, LIVELY, Circuit Judge, and WISEMAN,* District Judge.
    
    ORDER
    
      4
      This is an appeal from a judgment of the district court in an action brought pursuant to the Railway Labor Act, 45 U.S.C. § 151 et seq.  The district court filed a memorandum decision published at 470 F.Supp. 1356 (W.D.Tenn.1979), in which he found that the defendant violated the Act by discharging the plaintiff Charles Adams and by transferring the plaintiff Billy Lovett.  The district court ordered the defendant to reinstate Adams with seniority and back pay and to grant Lovett any seniority and back pay which he lost as a result of the transfer.  The district court also enjoined the defendants from discharging or transferring, or threatening to discharge or transfer, employees because of union activity, from ordering removal of union insignia absent some compelling reason and from otherwise interfering with or influencing employees with respect to their right to choose a representative.
    
    
      5
      On appeal the defendant does not claim that the findings of fact made by the district judge are clearly erroneous.  However, the defendant argues that the district court applied the wrong test in finding violations of the Act.
    
    
      6
      We note that the district court, in its order denying the motion to alter or amend the judgment, stated specifically that even if it had applied the test contended for by the defendant, it would have found that the defendant's actions violated the Act.
    
    
      7
      Upon consideration of the briefs and oral arguments of counsel together with the record on appeal, the court concludes that the district court did not err in determining that the defendant violated the Act in the discharge of Adams and the transfer of Lovett.  Accordingly, the judgment of the district court is affirmed.
    
    
      
        *
         The Honorable Thomas A. Wiseman, Judge, U.S. District Court for the Middle District of Tennessee, sitting by designation
      
    
    